                4:20-bk-14282 Doc#: 57 Filed: 08/24/22 Entered: 08/24/22 11:03:15 Page 1 of 1


                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF ARKANSAS
                                              CENTRAL DIVISION


               In re: Emily Collins                                                      Case No.: 4:20-bk-14282
               Debtor                                                                                 Chapter 13


                                      ORDER TO SHORTEN TIME TO OBJECT


                       NOW BEFORE THE COURT is the Motion to Shorten Time to Object to a Motion to
              Incur, filed by the Debtor, Emily Collins, on August 24, 2022. This Court finds that the Motion
              should be, and hereby is, GRANTED. Accordingly, this Court orders that the time to object to
              Debtor's Motion to Incur is hereby shortened to ten (10) days. Any objection to the Debtor's
              Motion to Incur shall be filed with this Court on or before September 06, 2022.



                       IT IS SO ORDERED



                                                                   Phyllis M. Jones
                                                                   United States Bankruptcy Judge
                                                                           Honorable Phyllis
                                                                   Dated: 08/24/2022       M. Jones
                                                                          United States Bankruptcy Judge




EOD: August 24, 2022
